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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

DENNIS BALL-BEY,                                   )
                                                   )
                   Plaintiff,                      )
                                                   )
             v.                                    )           Case No. 4:18-CV-1364-SPM
                                                   )
KYLE CHANDLER, et al.,                             )
                                                   )
                   Defendants.                     )


                                 MEMORANDUM AND ORDER

        This matter is before the Court on Plaintiff’s Motion to Compel Related to FIU Audit.

(Doc. 329). Defendant has filed an opposition. (Doc. 338). For the following reasons, the motion

will be granted in part and denied in part.

        I.        BACKGROUND

        This case arises out of the fatal shooting of Plaintiff Dennis Ball-Bey’s son, Mansur Ball-

Bey, by a St. Louis police officer on August 19, 2015. Plaintiff Dennis Ball-Bey asserted various

claims under federal and state law against the two St. Louis police officers who allegedly shot and

killed his son, and he also asserted claims of municipal liability against the City of St. Louis based

on its customs and policies related to the use of excessive force by officers. 1 In late 2022, Plaintiff

deposed Roger Engelhardt, the former head of the Force Investigation Unit (“FIU”)—the unit

within the St. Louis City Police Department that was dedicated to investigating officer-involved

shootings and that had investigated the shooting of Plaintiff’s son. During that deposition, Plaintiff


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  As discussed below, the Court granted summary judgment in the City’s favor on the claims
against the City on September 7, 2023 (after the instant motion was filed). Plaintiff also dismissed
the claims against Defendant Officer Ronald Vaughan, after discovering that the evidence showed
that Defendant Officer Kyle Chandler had actually fired the shot that killed Plaintiff’s son.
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learned information about an investigation of the FIU (the “FIU Audit”) that had identified

numerous problems with the FIU’s practices and with Roger Engelhardt’s conduct in heading the

FIU. Plaintiff served an amended notice of 30(b)(6) deposition, adding a topic related to the

investigation of the FIU and Roger Engelhardt. Defendant moved to quash the amended notice.

       On January 24, 2023, the Court entered an order granting the motion to quash the amended

notice because the addition of the new Rule 30(b)(6) topic would be unduly burdensome to

Defendants. (Doc. 220). However, the Court found that the information sought in the notice was

relevant, and it granted Plaintiff “leave to take the depositions of the individuals from the St. Louis

City Police Department who conducted the internal investigations of the St. Louis City

Metropolitan Police’s Force Investigation Unit” and “leave to serve any narrowly tailored

document requests resulting from the deposition testimony.” (Doc. 220). On June 16, 2023, the

Court entered a second order setting a July 24 deadline for conducting the limited discovery

authorized by the January 24 order. (Doc. 306). On June 23, 2023, Plaintiff’s counsel served

Plaintiff’s Fifth Requests for Production (“5th RFPs”) on Defendants, which were directed at

issues related to the FIU. (Doc. 331-4; Doc. 331-5). Plaintiff requested the following:

           1. [A]ll materials in the possession of the City of St. Louis related to the audit
              of the Force Investigations Unit, including but not limited to:
               (a)     The FIU Audit.
               (b)     The March 6, 2018 memorandum by John Green detailing problems
                       with the FIU.
               (c)     Any Internal Affairs records related to the IAD investigation of
                       Roger Engelhardt or any other FIU employee for misconduct
                       alleged during their employment at FIU.
               (d)     Any other records related to misconduct alleged against Roger
                       Engelhardt during his employment at FIU.
           2. ILEADS Audits, or any document displaying the metadata within any report
              related to the shooting of Mansur Ball-Bey.


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            3. All annual evaluations, or other written evaluations, of Roger Engelhardt or
               Steven Burle during their tenure at FIU, from 2014-2018.
            4. All documents related to discipline or allegations of misconduct of Roger
               Engelhardt or Steven Burle prior to or during their employment as FIU
               employees from 2014- 2018.
(Doc. 331-4).

       In mid-July, Plaintiff’s counsel deposed three witnesses to the FIU Audit: J.D. McCloskey,

a former Internal Affairs Division (“IAD”) Officer who managed the three-person FIU Audit team

(Doc. 331-1); Michael Sack, the head of the Bureau of Professional Standards, who met regularly

with the FIU Audit team and monitored its progress (Doc. 331-2); and Sgt. Tonya Porter, a member

of the FIU Audit team with prior experience as a St. Louis Metropolitan Police Department Officer

who also took the lead on the subsequent IAD investigation into FIU Commander Roger

Engelhardt that occurred after the FIU Audit (Doc. 331-3). Soon after these depositions, Plaintiff’s

counsel identified several documents that were mentioned within the depositions and that Plaintiff

believed were responsive to the previously-served 5th RFPs. In an email sent on July 25, 2023,

Plaintiff’s counsel asked Defendant’s counsel to produce “the following items responsive to RFP

1 and which were discussed in depositions”:

       a.       The complete “Project 747” electronic file kept by JD McCloskey. (See testimony
                of McCloskey)
       b.       The complete production of all six paper boxes created by the FIU Audit team and
                delivered to the City Counselor’s office upon completion of the Audit. (See
                testimony of Sack and Porter)
       c.       Any documentation of subsequent follow-up conducted on the old FIU filed by
                John Green after the FIU audit (See testimony of Sack).
       d.       Any documentation related to IAD investigations into supervisors of Roger
                Engelhardt for failure to supervise FIU. (See testimony of Tonya Porter).


(Doc. 331-5). Plaintiff’s counsel also requested “full production of RFPs 2-4.” (Id.)



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        On August 3, 2023, Defendants responded for the first time to the 5th RFPs. 2 As to RFP

1(a), Defendants referred to their Response to Plaintiff’s Fourth Request for Production of

Documents. As to the other requests, Defendants objected to them as not relevant, violating the

attorney-client privilege and the work product doctrine, violating employee-employer

confidentiality, being not proportional to the needs of the case, threatening security within the

SLMPD as it touches on investigatory methodology, and the burden on Defendants outweighing

the likely benefit. (Doc. 331-4). Defendant also objected to RFP No. 2 as vague. (Id.)

        On August 7, 2023, Plaintiff filed the instant motion to compel, asserting that even after

counsel met and conferred, Defendants’ counsel has refused to produce a single page of documents

other than the initial 52-page FIU Audit Summary (Doc. 296-2), which was produced on May 31,

2023. See Doc. 288. On September 7, 2023, the Court granted the City’s motion for summary

judgment on all claims against the City.

        II.    LEGAL STANDARDS

        Rule 37 of the Federal Rules of Civil Procedure governs motions to compel discovery. See

Fed. R. Civ. P. 37(a)(1) (“On notice to other parties and all affected persons, a party may move for

an order compelling disclosure or discovery.”). Rule 26 governs the scope of discovery and

provides:

        Parties may obtain discovery regarding any nonprivileged matter that is relevant to
        any party's claim or defense and proportional to the needs of the case, considering
        the importance of the issues at stake in the action, the amount in controversy, the
        parties’ relative access to relevant information, the parties’ resources, the
        importance of the discovery in resolving the issues, and whether the burden or
        expense of the proposed discovery outweighs its likely benefit. Information within
        this scope of discovery need not be admissible in evidence to be discoverable.


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 Plaintiff points out that this response was more than ten days after the 30-day deadline set by
Fed. R. Civ. P. 34(b)(2) and suggests that Defendants’ objections should be deemed waived
because of the untimely response.
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Fed. R. Civ. P. 26(b)(1). “Some threshold showing of relevance must be made before parties are

required to open wide the doors of discovery and to produce a variety of information which does

not reasonably bear upon the issues in the case.” Morrison v. Hale, No. 4:17-CV-875-NAB, 2018

WL 1792208, at *1 (E.D. Mo. Apr. 16, 2018) (quoting Hofer v. Mack Trucks, Inc., 981 F.2d 377,

380 (8th Cir. 1992)).

        III.      DISCUSSION

        In the memorandum submitted in support of the motion, Plaintiff sets forth several

categories of discovery that have been requested by Plaintiff and that Defendants have refused to

produce. The Court will address each in turn. At the outset, the Court notes that much of the

discovery at issue in the instant motion to compel appears to be relevant primarily or exclusively

to Plaintiff’s claims against the City. Because the Court has granted summary judgment on those

claims, the Court will carefully scrutinize Plaintiff’s requests to determine whether they are

relevant to the only claims remaining in the case—the claims against Officer Chandler based on

the shooting of Plaintiff’s son.

                           RFP 1: Documents Related to the FIU Audit

   A.          FIU Paper Files

        Plaintiff states that after the FIU Audit team conducted a months-long investigation of the

FIU’s failures from 2018, Major Michael Sack testified that he packaged up the team’s work into

six boxes and delivered copies of the entire FIU Audit to the FBI, the IAD, and the City

Counselor’s office (the “FIU Paper Files”). Plaintiff states that the FIU Audit reviewed each

individual shooting and documented issues with it, and so by definition, documents within the FIU

Audit boxes bear on the Ball-Bey shooting and should have been produced years earlier in this

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case. Plaintiff also argues that these boxes contain information relevant to the municipal liability

claims against the City. Plaintiff further argues that these files are relevant to the individual liability

claims because if the FIU investigations were designed to intentionally insulate the shooting

officers, that is relevant for a jury who is weighing the facts gathered by the FIU team.

         The Court finds that now that summary judgment has been granted on the claims against

the City, documents about the FIU’s investigations of other shootings, or the FIU’s procedures

generally, likely have little or no relevance to any issues presently before the Court, and compelling

their production would not be proportional to the needs of the case at this time. However, any

documents that specifically discuss the Ball-Bey shooting are highly relevant to the still-pending

claims against Officer Chandler and must be produced. The Court will order Defendants to produce

all documents from the FIU Paper files that discuss or relate to the shooting of Mansur Ball-Bey

or the FIU’s investigation of the shooting of Mansur Ball-Bey.

    B.       FIU Computer Records

         Plaintiff states that, similar to the paper files collected by Major Sack in six boxes, Sergeant

J.D. McCloskey testified that he retained all electronic files related to the FIU Audit in an

electronic file, which he believes likely still exists (the “FIU Computer Records”). As with the FIU

Paper Files, the Court finds that the only documents that are relevant and discoverable in this

category are those that specifically discuss the Ball-Bey shooting. The Court will order Defendants

to produce all documents from the FIU Computer Records that discuss or relate to the shooting of

Mansur Ball-Bey or the FIU’s investigation of the shooting of Mansur Ball-Bey.

    C.       IAD Records Related to the Subsequent IAD Investigation of Engelhardt

         Plaintiff states that after the months-long investigation of the FIU, Sergeant Tonya Porter

returned to IAD, where she conducted a separate IAD investigation into the SLMPD policy

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violations of Roger Engelhardt while he was running the FIU. Plaintiff seeks the entire IAD file

related to Engelhardt’s misconduct. The Court finds that now that summary judgment has been

granted on the claims against the City, the investigation into the head of the FIU has little to no

relevance to any issues presently before the Court, and compelling their production would not be

proportional to the needs of the case at this time. The Court will therefore deny the motion to

compel as to this category of documents.

   D.      IAD Investigations into Supervisors of Engelhardt

        The Court finds that now that summary judgment has been granted on the claims against

the City, investigations into the supervisors of the head of the FIU have little to no relevance to

any issues presently before the Court, and compelling their production would not be proportional

to the needs of the case at this time. The Court will therefore deny the motion to compel as to this

category of documents.

                          RFP 2: ILEADS “Audit” of Ball-Bey Report

        Plaintiff states that Sergeant McCloskey testified that an “audit” process within the

SLMPD report software allows investigators to learn who viewed police reports, who approved

them and when, and also potentially what edits occurred to the given report. Plaintiff seeks only

the ILEADS audit of the investigation of the Ball-Bey shooting. The Court agrees with Plaintiff

that this information is likely relevant to the individual liability claims and must be produced. The

Court will grant the motion to compel as to this category of documents.

              RFP 3: Annual Evaluations of Roger Engelhardt and Steven Burle
                              During Their Tenure at FIU

        Plaintiff states that he requested the annual evaluations of Roger Engelhardt and of Steven

Burle (who wrote the Ball-Bey FIU report) during the time period that the officers were at FIU.

The Court finds that now that summary judgment has been granted on the claims against the City,
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these documents have little to no relevance to any issues presently before the Court, and

compelling their production would not be proportional to the needs of the case at this time. The

Court will therefore deny the motion to compel as to this category of documents.

                       RFP 4: Prior Misconduct of Engelhardt and Burle

       Plaintiff seeks evidence of the prior misconduct of Engelhardt and Burle. The Court finds

that now that summary judgment has been granted on the claims against the City, these documents

have little to no relevance to any issues presently before the Court, and compelling their production

would not be proportional to the needs of the case at this time. The Court will therefore deny the

motion to compel as to this category of documents.

         Testimony of IAD Investigations Into Engelhardt and Other FIU Supervisors

       During the depositions of FIU-related witnesses, Defense counsel objected and instructed

the witnesses not to answer questions about the IAD investigation into Roger Engelhardt. The

Court finds that now that summary judgment has been granted on the claims against the City, these

documents have little to no relevance to any issues presently before the Court, and compelling

their production would not be proportional to the needs of the case at this time. The Court will

therefore deny the motion to compel as to this testimony.

       IV.     CONCLUSION

       For the reasons stated above, Plaintiff’s motion to compel is GRANTED IN PART and

DENIED IN PART, as set forth above. The motion is GRANTED with respect to (1) all FIU

Paper Files or FIU Computer Records that discuss or relate to the shooting of Mansur Ball-Bey or

the FIU’s investigation of the shooting of Mansur Ball-Bey, requested in Request for Production

Number 1; and (2) the ILEADS “Audit” of the Ball-Bey Report, requested in Request for

Production Number 2. The motion is DENIED in all other respects.

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                                            SHIRLEY PADMORE MENSAH
                                            UNITED STATES MAGISTRATE JUDGE

Dated this 12th day of October, 2023.




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